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VAN−019 Deficiency Notice − Petitions (BNC) − Rev. 07/08/2019

                              UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF NORTH CAROLINA
                                                            Raleigh Division

IN RE:
Teresa Mae Davis−alabere                                            CASE NO.: 19−04185−5−SWH
( debtor has no known aliases )
PO Box 1712                                                         DATE FILED: September 12, 2019
Lillington, NC 27546
                                                                    CHAPTER: 7




                                                        DEFICIENCY NOTICE

To: Teresa Mae Davis−alabere
The above referenced petition has been filed. In order for the case to be administered, it is necessary that
the item(s) described below be filed by September 26, 2019 .

The electronic noticing request was omitted for debtor. Proof of identity was not provided.

Pursuant to §521(i)(1) of the Bankruptcy Code, this case may be automatically dismissed effective on the
46th day after the date of the filing of the petition if the above listed deficiency is not corrected. Should the
case be dismissed and the debtor(s) file another petition within one year, the automatic stay may be limited
to 30 days or may not go into effect absent a motion and order imposing or extending the automatic stay.

Pursuant to Bankruptcy Rule 1008, all petitions, lists, schedules, statements, and amendments should be
verified or contain an unsworn declaration as provided in 28 U.S.C. 1746.

The three day mailing period as provided for under Rule 9006(f), Federal Rules of Bankruptcy Procedure,
does not apply.

DATED: September 12, 2019

                                                                   Abigail Ferritto
                                                                   Deputy Clerk
